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.f.l§`\’f"» U.S. DisTOgT_O
“’- U~ U" TN JACKS<)N
ADVANCEI) RADIoLoGY, P.c.

Plaintift`,

v. NO. 1-03-1059-A

TROY CAVE ANI)‘\H]?S, ]NC,, -

Defendants.

 

CONSENT ORDER GRANTING PERMISSION TO
WITHDRAW AS COUNSEL FOR DEFENDANT, HPS, INC.

 

COME NOW the Parties, by and through undersigned counsel, and hereby
consent to Timothy W. Smith and John P. Sheahan withdrawing as counsel for the
Defendant, HPS, Inc. The Defendant, HPS, Inc., has flled for bankruptcy and the U.S.
Trustee has confirmed that he Will not retain aforementioned counsel on behalf of the
Defendant._ (See correspondence attached hereto as Exhibit “A”)

a is ftth oRnERED. ADJ`U])GED AND DECREEIJ that John P. Sheahan
and Timothy W. Smith are hereby granted permission to withdraw in this matter as
counsel for the Defendant, I-IPS, Inc., and are relieved of any further duties on behalf of

the Defendant, I-[PS, lnc.

This document entered on the docket sheet In compliance
with alive se and/or 79 (a) FacP on 37 § 9

 

 

 

 

 

 

Case 1:03-cv-01059-.]DT-STA Document 45 Filed 06/07/05 Page 2 of 3 Page|D 57

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It is hereby OR.DERED this the day ofBi’ZOOS .

D.Q»M

Q¢wm, ¢;10’.9 5dr
Date 0

Judge

APPROVED AS TO FORM:

AT'I`ORNEYS FOR TROY CAVE AND HPS, INC.

 

TIMOTHY W. SMITH (20291)
JOHN P. SHEAHAN, JR.(17558)
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901-323-8048

ATTORNEY FOR PLAINTIFF

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Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 1:03-CV-01059 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

